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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                              WEST PALM BEACH DIVISION

                                             )
                                             )
   IN RE BITCONNECT SECURITIES               )
   LITIGATION                                )
                                             )
                                             )
                                             )     Lead Case No.: 9:18-cv-80086-DMM
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     YOUTUBE’S MOTION TO DISMISS PLAINTIFFS’ AMENDED CONSOLIDATED
      CLASS ACTION COMPLAINT AND SUPPORTING MEMORANDUM OF LAW

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           Pursuant to Fed. R. Civ. P. 12(b)(2) and 12(b)(6), Defendant YouTube, LLC
   (“YouTube”) submits this memorandum of law in support of its motion to dismiss Plaintiffs’
   Amended Consolidated Class Action Complaint (“FAC”)—the fifth iteration of a complaint in
   this action.
                       INTRODUCTION AND SUMMARY OF ARGUMENT
           Plaintiffs are investors who lost money investing in a cryptocurrency investment program
   known as BitConnect. In this lawsuit, Plaintiffs allege that BitConnect was actually a Ponzi
   scheme, and they assert a variety of securities, fraud, and other claims against various entities
   and individuals related to BitConnect. Plaintiffs do not claim that YouTube perpetrated or
   participated in this alleged fraud, and YouTube was not named as a defendant in the initial three
   iterations of Plaintiffs’ complaints.
           Now, however, Plaintiffs seek to hold YouTube liable for BitConnect’s alleged
   wrongdoing. The FAC asserts a single cause of action against YouTube, premised on the theory
   that YouTube had a legal duty to warn Plaintiffs about the risks involved in investing in
   BitConnect. The source of this purported duty is a set of promotional videos that BitConnect
   affiliates allegedly uploaded to YouTube’s website. Plaintiffs claim that YouTube acted
   negligently by failing to remove those videos or to warn Plaintiffs that the videos may contain
   misleading information about BitConnect. Whatever the merits of Plaintiffs’ allegations against
   BitConnect and its affiliates, their claim against YouTube fails as a matter of law. That claim
   should be dismissed for three independent reasons.
           First, Plaintiffs do not allege any basis for this Court to assert personal jurisdiction over
   YouTube. Other than bare legal conclusions, the FAC offers no jurisdictional allegations
   whatsoever, and it certainly pleads no facts about any connections that YouTube might have to
   Florida, whether generally or specifically based on the actions it supposedly took (or failed to
   take) in regard to BitConnect. Plaintiffs bear the burden of providing such allegations in their
   complaint, and their failure to do so requires dismissal under Fed. R. Civ. P. 12(b)(2).
           Second, Plaintiffs’ claim against YouTube is barred by Section 230 of the
   Communications Decency Act (“CDA”), 47 U.S.C. § 230 (“Section 230”). This statute provides
   broad immunity to online service providers like YouTube against efforts to hold them liable for
   allowing allegedly harmful content created by others to be available on their services. Indeed,
   courts in two recent cases have dismissed similar failure to warn claims against other online
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   platforms. See Herrick v. Grindr, LLC, 306 F. Supp. 3d 579 (S.D.N.Y. 2018); McDonald v. LG
   Elecs. USA, Inc., 219 F. Supp. 3d 533 (D. Md. 2016). The same result is warranted here.
          Third, Plaintiffs’ failure to warn claim fails on its own terms. A duty to warn can arise
   only in narrow circumstances, such as where a “special relationship” exists between the plaintiff
   and the defendant. But courts have repeatedly held that no such relationship exists between
   operators of general purpose websites such as YouTube and their scattered, diverse set of users.
   That rule applies here, and it rules out holding YouTube liable on a failure to warn theory.
          After YouTube moved to dismiss Plaintiffs’ Third Amended Complaint, Plaintiffs
   decided to amend their pleading rather than stand on it. Yet the FAC does nothing to cure the
   infirmities in the single claim against YouTube—nor could it. Indeed, the defects in Plaintiffs’
   claim are insurmountable, and the Court should dismiss YouTube from this case with prejudice.
                        FACTUAL AND PROCEDURAL BACKGROUND
          A.      BitConnect and the Promoter Defendants
          This case arises from a cryptocurrency-related investment program called BitConnect,
   which was allegedly promoted by several affiliates named in the FAC as the “Promoter
   Defendants. FAC ¶¶ 2, 43-60. The allegations in the FAC relate primarily to these Promoter
   Defendants and additional BitConnect-related entities, directors, and developers (collectively, the
   “BitConnect Defendants”), rather than to YouTube. Plaintiffs, who invested in BitConnect,
   allege that the BitConnect program was a Ponzi scheme and that they were victims of it.
   Plaintiffs have asserted 21 causes of action against the BitConnect Defendants, including
   violations of federal securities law, fraud claims, civil conspiracy, and additional state law claims.
   FAC ¶ 2. None of these 21 claims is directed at YouTube.
          B.      Plaintiffs’ Single Claim Against YouTube
          YouTube operates a popular website and related online service that allows people from
   all over the world to post videos of their choosing and to view videos created and uploaded by
   other YouTube users. See Lenz v. Universal Music Corp., 572 F. Supp. 2d 1150, 1152 (N.D. Cal.
   2008).1 The quantity and variety of videos posted on YouTube is almost unimaginable. See, e.g.,


      1
        The use of YouTube, including posting and viewing content on the service, is governed by
   a Terms of Service (“TOS”), which expressly requires that legal claims be brought in California
   and be governed by California law. https://www.youtube.com/static?template=terms. Because
   Plaintiffs do not allege specific facts related to their use of YouTube, YouTube does not, for
                                                                                        (continued...)


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   Jack Nicas, YouTube Notches Global Video Milestone, W.S.J., Feb. 28, 2017 (“400 hours of
   video are uploaded to YouTube each minute, or 65 years of video a day.”). YouTube is
   incorporated in Delaware, and its principal place of business is in California. FAC ¶ 61.
          While YouTube was not named as a defendant in the initial versions of Plaintiffs’
   complaint, the FAC asserts a single claim against YouTube: for negligent failure to warn,
   presumably under Florida law. FAC ¶¶ 348-354. This claim arises from various videos uploaded
   to YouTube by the Promoter Defendants, videos through which those Defendants are alleged to
   have promoted and solicited investments in BitConnect. Id. ¶¶ 7, 200-207. Plaintiffs allege that
   the Promoter Defendants posted hundreds of videos on YouTube touting BitConnect and
   recruiting investors to the program, and that these videos collectively were viewed by millions of
   people. Id. ¶¶ 200-207. Plaintiffs contend that some viewers of the Promoted Defendants’ videos
   “were successfully solicited to invest” in BitConnect. Id. ¶ 226.
          Plaintiffs do not allege that YouTube created or contributed any of the information in the
   BitConnect videos or that YouTube itself solicited or promoted any investments in BitConnect.
   Instead, Plaintiffs seek to hold YouTube liable for having provided an online platform that the
   Promoter Defendants used to publish their allegedly misleading videos and for failing to take
   action to protect Plaintiffs against the alleged effects of those videos. Id. ¶¶ 200-227. To that end,
   Plaintiffs assert that YouTube failed to discharge its supposed obligation “to delist or demonetize
   the videos uploaded by BitConnect and its affiliate promoters” (id. ¶ 217) and “to warn
   [Plaintiffs] of the dangers associated with investing” in BitConnect (id. ¶ 352).
          C.      Procedural History
          The putative class initiated this action on January 24, 2018, and then filed amended
   complaints on January 30, 2018 and February 27, 2018. DE 1, 5, 14, 19. None of those iterations
   of the complaint named YouTube—they instead were directed solely to BitConnect, its officers
   and directors, and its promoters. Id. On July 3, 2018, after the Court had consolidated four
   separately filed securities class actions, Plaintiffs filed the Third Amended Complaint, in which
   Plaintiffs for the first time added YouTube as a defendant. DE 48. YouTube moved to dismiss


          (...continued from previous page)
   purposes of this motion to dismiss, assert arguments based on the forum-selection or choice-of-
   law provisions in the TOS. But YouTube reserves its right to invoke those and any other relevant
   provisions of the TOS should it be appropriate to do so in any further proceedings in this case.




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   (DE 68), and Plaintiffs then amended their pleading yet again—but their allegations against
   YouTube are almost wholly unchanged. Compare DE 48 ¶¶ 116-143 to DE 78 ¶¶ 193-227
   (other than a handful of new paragraphs, allegations against YouTube identical).
                                               ARGUMENT
          Plaintiffs’ single claim against YouTube should be dismissed for three separate reasons.
   First, Plaintiffs fail to allege an adequate basis for the Court to exercise personal jurisdiction.
   Second, Plaintiffs’ claim is barred by Section 230 of the Communications Decency Act. Third,
   Plaintiffs’ claim fails as a matter of law because YouTube had no duty to warn Plaintiffs about
   the risks of investing in BitConnect.
   I.     PLAINTIFFS’ CLAIM AGAINST YOUTUBE SHOULD BE DISMISSED FOR
          LACK OF PERSONAL JURISDICTION
          As an initial matter, Plaintiffs’ claim fails for lack of personal jurisdiction and should be
   dismissed under Fed. R. Civ. P. 12(b)(2). “A plaintiff seeking the exercise of personal
   jurisdiction over a nonresident defendant bears the initial burden of alleging in the complaint
   sufficient facts to make out a prima facie case of jurisdiction.” Diamond Crystal Brands, Inc. v.
   Food Movers, Int’l, Inc., 593 F.3d 1249, 1257 (11th Cir. 2010) (quoting United Techs. Corp. v.
   Mazer, 556 F.3d 1260, 1274 (11th Cir. 2009)). Plaintiffs have not done so here. There are two
   different forms of personal jurisdiction: “Specific jurisdiction attaches only to suits arising from
   a defendant’s contact with the forum, whereas general jurisdiction can more broadly attach to
   suits unrelated to defendant’s contacts with the forum.” Roblor Mktg. Group, Inc. v. Gps Indus.,
   Inc., 645 F. Supp. 2d 1130, 1150 (S.D. Fla. 2009); see generally Goodyear Dunlop Tires
   Operations, S.A. v. Brown, 564 U.S. 915, 923-24 (2011). Here, beyond threadbare legal
   conclusions that do not even mention YouTube, the FAC offers no allegations whatsoever that
   would establish personal jurisdiction over YouTube on either theory.
          A.      Plaintiffs Allege No Basis For Asserting General Jurisdiction Over YouTube
          A court may assert general jurisdiction over foreign corporations only “when their
   affiliations with the State are so ‘continuous and systematic’ as to render them essentially at
   home in the foreign State.” Wolf v. Celebrity Cruises, Inc., 683 Fed. Appx. 786, 791 (11th Cir.
   2017) (citing Goodyear, 564 U.S. at 919). Only a “limited set of affiliations with a forum will
   render a defendant amenable to all-purpose jurisdiction there”—indeed, the “paradigm” all-
   purpose forums for general jurisdiction are a corporation’s “place of incorporation and principal
   place of business.” Daimler AG v. Bauman, 571 U.S. 117, 137 (2014). Only in the “exceptional



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   case” may “a corporation’s operations in a forum other than its formal place of incorporation or
   principal place of business . . . be so substantial and of such a nature as to render the corporation
   at home in that State.” Id. at 139 n.19. Plaintiffs do not even try to meet those demanding
   standards. They acknowledge that YouTube is neither incorporated nor based in Florida. FAC ¶
   61. Nor does the FAC offer any other facts that would establish that YouTube is “at home” in
   this State. FAC ¶ 22. The absence of any such allegations leaves the Court with no basis to
   assume general jurisdiction over YouTube.
          B.      Plaintiffs Allege No Factual Basis For Asserting Specific Jurisdiction
          Plaintiffs’ allegations are equally deficient regarding specific jurisdiction. “[S]pecific
   personal jurisdiction authorizes jurisdiction over causes of action arising from or related to the
   defendant’s actions within Florida and concerns a nonresident defendant’s contacts with Florida
   only as those contacts related to the plaintiff’s cause of action.” Louis Vuitton Malletier, S.A. v.
   Mosseri, 736 F.3d 1339, 1352 (11th Cir. 2013). The inquiry requires showing that “(1) the
   defendant purposefully directed its activities towards residents of the forum, (2) the claim arises
   out of or relates to those activities, and (3) assertion of personal jurisdiction is reasonable and
   fair.” Zamora Radio, LLC v. Last.fm Ltd., No. 09-20940-CIV, 2011 U.S. Dist. LEXIS 69101, at
   *14 (S.D. Fla. June 28, 2011) (quoting Avocent Huntsville Corp. v. Aten Int’l Co., 552 F.3d
   1324, 1329 (Fed. Cir. 2008)).
          As with general jurisdiction, Plaintiffs fail to allege any facts that could establish specific
   jurisdiction as to YouTube. The FAC contains no allegations that YouTube, in supposedly
   failing to remove or warn about certain BitConnect videos or activities, “purposefully directed its
   activities” towards Florida residents, and there is no suggestion in the complaint that Plaintiffs’
   duty to warn claim in any way “arises out of or relates to” any forum-directed activities that
   YouTube might have undertaken. Indeed, the FAC does not even allege that any Plaintiff resided
   in Florida, much less that they viewed the Promoter Defendants’ YouTube videos in Florida. All
   that Plaintiffs offer is a conclusory, threadbare recital of the “minimum contacts” standard, one
   that is supported by not a single concrete factual allegation—even after amending their
   complaint. FAC ¶ 22. That is not sufficient. See Silver v. Karp, No. 14-80447-CIV-
   COHN/SELTZER, 2014 U.S. Dist. LEXIS 119462, at *9 (S.D. Fla. Aug. 27, 2014) (finding
   jurisdictional allegations “conclusory, not well pleaded, and not entitled to a presumption of
   truth”) (citing Ashcroft v. Iqbal, 556 U.S. 662, 679 (2009)). Lacking any allegations that even




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   gesture at the showing that they would have to make to establish that YouTube’s “suit-related
   conduct” created “a substantial connection with” Florida, Walden v. Fiore, 571 U.S. 277, 284
   (2014), Plaintiffs have not pleaded personal jurisdiction.
             In short, because Plaintiffs have failed to allege any factual basis upon which this Court
   could assert personal jurisdiction as to YouTube, their claim must be dismissed under Rule
   12(b)(2). See, e.g., Ecomed LLC v. Asahi Kasei Med. Co., No. 17-61360-CIV, 2018 U.S. Dist.
   LEXIS 126084, at *13-15 (S.D. Fla. July 26, 2018) (dismissing complaint for failure to allege
   facts sufficient to establish personal jurisdiction over defendant); High Tech Indus. v. Bethel
   Transp., Ltd., No. 18-14173-CIV, 2018 U.S. Dist. LEXIS 96060, at *8-9 (S.D. Fla. June 6, 2018)
   (complaint “devoid of any factual allegations warranting this Court’s exercise of jurisdiction
   over Defendant” requires dismissal).
   II.       PLAINTIFFS’ CLAIM AGAINST YOUTUBE IS BARRED BY SECTION 230
             Even if the Court had jurisdiction over YouTube, Plaintiffs’ claim is barred by federal
   law. Section 230(c)(1) of the CDA, 47 U.S.C. § 230 “establish[es] broad ‘federal immunity to
   any cause of action that would make service providers liable for information originating with a
   third-party user of the service.’” Almeida v. Amazon.com, Inc., 456 F.3d 1316, 1321 & n.3 (11th
   Cir. 2006) (quoting Zeran v. Am. Online, Inc., 129 F.3d 327, 330 (4th Cir. 1997)). This immunity
   protects YouTube here and requires dismissal with prejudice of Plaintiffs’ claim.2
             A.     Section 230 Broadly Immunizes Online Service Providers Against Claims
                    Seeking To Hold Them Liable For Third Party Content
             In enacting Section 230, Congress recognized that the internet offers “a forum for a true
   diversity of political discourse, unique opportunities for cultural development, and myriad
   avenues for intellectual activity.” 47 U.S.C. § 230(a)(3). The statute codifies “the policy of the
   United States (1) to promote the continued development of the Internet and other interactive
   computer services” and “(2) to preserve the vibrant and competitive free market that presently

         2
         Because Section 230 is a categorical bar to Plaintiffs’ claim against YouTube, it is
   appropriate to dismiss Plaintiffs’ claim with prejudice. Section 230’s broad application would
   make it futile for Plaintiffs to try to amend their complaint to address the deficiencies in their
   personal jurisdiction allegations (see supra Section I) and in their attempt to state a claim on the
   merits (see infra Section III). See, e.g., McDonald, 219 F. Supp. 3d at 540 n.6. Indeed, even
   after Plaintiffs had opportunity to review the grounds for YouTube’s motion to dismiss the TAC,
   the FAC still contains no actionable allegations against YouTube.




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   exists for the Internet” (id. § 230(b)). Bennett v. Google LLC, 882 F.3d 1163, 1165 (D.C. Cir.
   2018). To that end, Section 230(c)(1) mandates that “[n]o provider or user of an interactive
   computer service shall be treated as the publisher or speaker of any information provided by
   another information content provider.” 47 U.S.C. § 230(c)(1).
          Under this provision, “lawsuits seeking to hold a service provider liable for its exercise of
   a publisher’s traditional editorial functions—such as deciding whether to publish, withdraw,
   postpone or alter content—are barred.” Zeran, 129 F.3d at 330; see also, e.g., Dowbenko v.
   Google, Inc., 582 Fed. Appx. 801, 805 (11th Cir. 2014) (same); Jones v. Dirty World Entm’t
   Recordings LLC, 755 F.3d 398, 407 (6th Cir. 2014) (same); Batzel v. Smith, 333 F.3d 1018, 1031
   n.18 (9th Cir. 2003) (same). The statute expressly preempts any contrary state laws or causes of
   action. 47 U.S.C. § 230(e)(3) (“No cause of action may be brought and no liability may be
   imposed under any State or local law that is inconsistent with this section.”); accord Doe v. Am.
   Online, Inc., 783 So. 2d 1010 (Fla. 2001) (holding that Section 230 barred negligence claim
   under Florida law); Roca Labs, Inc. v. Consumer Op. Corp., 140 F. Supp. 3d 1311, 1319 (M.D.
   Fla. 2015) (same). In short: “If a website displays content that is created entirely by third parties,
   . . . [it] is immune from claims predicated on that content.” O’Kroley v. Fastcase, Inc., 831 F.3d
   352 (6th Cir. 2016) (quoting Jones, 755 F.3d at 408).
          Because Section 230 provides an “immunity from suit rather than a mere defense to
   liability,” it should attach “at the earliest possible stage of the case.” Nemet Chevrolet, Ltd. v.
   Consumeraffairs.com, Inc., 591 F.3d 250, 254–255 (4th Cir. 2009); accord Jones, 755 F.3d at
   417. In particular, courts are to dismiss claims at the pleadings stage wherever the service
   provider’s immunity “is evident from the face of the complaint.” Klayman v. Zuckerberg, 753
   F.3d 1354, 1357 (D.D.C. 2014); see, e.g., Mezey v. Twitter, Inc., No. 1:18-cv-21069-KMM, 2018
   U.S. Dist. LEXIS 121775 (S.D. Fla. July 19, 2018) (applying Section 230 to dismiss complaint
   under Rule 12(b)(6)). After all, Section 230 is intended not only to “protect websites not merely
   from ultimate liability, but [also] from having to fight costly and protracted legal battles.” Fair
   Hous. Council v. Roommates.com, LLC, 521 F.3d 1157, 1175 (9th Cir. 2008).
          B.      YouTube Meets The Requirements For Section 230 Immunity
          There is an established three-part test for immunity under Section 230(c)(1). A claim is
   barred when: “(1) the defendant asserting immunity is an interactive computer service provider,
   (2) the particular information at issue was provided by another information content provider, and




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   (3) the claim seeks to treat the defendant as a publisher or speaker of that information.” Jones,
   755 F.3d at 409; see also, e.g., Bennett, 882 F.3d at 1166; Barnes v. Yahoo! Inc., 570 F.3d 1096,
   1100-01 (9th Cir. 2009); Mezey, 2018 U.S. Dist. LEXIS 121775, at *2-3. It is clear from the face
   of Plaintiffs’ complaint that these elements are all met here.
                  1.      YouTube Is The Provider of An “Interactive Computer Service”
          First, YouTube is unquestionably the provider of an “interactive computer service” under
   Section 230. The statute defines that term broadly: an “interactive computer service” includes
   “any information service, system, or access software provider that provides or enables computer
   access by multiple users to a computer server.” 47 U.S.C. § 230(f)(2); accord FAC ¶¶ 221, 226
   (alleging that Plaintiffs viewed videos on YouTube that the Promoter Defendants had created
   and uploaded). As numerous courts have held, YouTube—like other similar online platforms that
   allow users to post and view content—plainly meets this definition. See, e.g., Gonzalez v.
   Google, Inc., 282 F. Supp. 3d 1150, 1163–1164 (N.D. Cal. 2017) (undisputed that YouTube is an
   “interactive computer service provider”); Darnaa, LLC v. Google, Inc., No. 15-cv-03221-RMW,
   2016 U.S. Dist. LEXIS 152126, at *20-21 (N.D. Cal. Nov. 2, 2016) (“the YouTube website
   provides or enables computer access by multiple users to a computer server”); Gavra v. Google
   Inc., No. 5:12-CV-06547-PSG, 2013 U.S. Dist. LEXIS 100127, at *4-9 (N.D. Cal. July 17, 2013)
   (claims against Google relating to YouTube videos covered by CDA); accord Roca Labs, 140 F.
   Supp. 3d at 1318 (“Websites that allow third parties to make posts regarding a product or service
   . . . have been held to be interactive computer services.”).
                  2.      YouTube’s Users Provided The Information At Issue
          It is equally clear that the material at issue was not provided by YouTube, but rather by
   “another information content provider.” “The term ‘information content provider’ means any
   person or entity that is responsible, in whole or in part, for the creation or development of
   information provided through the Internet or any other interactive computer service.” 47 U.S.C.
   § 230(f)(3). Here, Plaintiffs seek to hold YouTube liable for videos created and developed by the
   Promoter Defendants (and perhaps other third party YouTube users). FAC ¶ 217 (asserting that
   YouTube failed to discharge its supposed obligation “to delist or demonetize the videos uploaded
   by BitConnect and its affiliate promoters”). While Plaintiffs claim that YouTube was or should
   have been aware of the BitConnect videos, they do not even try to suggest that YouTube created
   any of those videos, posted them to the service, or had anything to do with the development of




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   their content. To the contrary, the complaint leaves no doubt that the videos were authored and
   uploaded by the Promoter Defendants (or third parties). Id. ¶¶ 123-129. That alone satisfies the
   second element of Section 230(c)(1) immunity. See, e.g., Klayman, 753 F.3d at 1358 (“a website
   does not create or develop content when it merely provides a neutral means by which third
   parties can post information of their own independent choosing online”); Bennett, 882 F.3d at
   1167 (second factor satisfied where plaintiff “alleges that only [third party]—and not Google—
   created the offensive content on the blog”); Dowbenko, 582 Fed. Appx. at 805 (Google entitled
   to Section 230 immunity based on article “authored and posted” by “two anonymous bloggers”).
          Plaintiffs’ various efforts to plead around this problem do not work. Plaintiffs describe
   YouTube as “an active participant” in distributing the BitConnect videos. FAC ¶ 351. That is just
   a legal conclusion, supported by no actual factual allegations, which is not entitled to a
   presumption of truth. Iqbal, 556 U.S. at 678; accord Nemet, 591 F.3d at 258 (rejecting
   “threadbare and conclusory” allegations that defendant created content at issue). But even if it
   were credited, Plaintiffs’ allegation is irrelevant. What matters under Section 230 is not whether
   a service provider “participated” in the distribution of allegedly harmful content. See Jones, 755
   F.3d at 410 (explaining that “development” under § 230(f)(3) “means something more involved
   than merely displaying or allowing access to content created by a third party; otherwise §
   230(c)(1) would be meaningless”). As the Ninth Circuit has explained: “proliferation and
   dissemination of content does not equal creation or development of content.” Kimzey v. Yelp!
   Inc., 836 F.3d 1263, 1271 (9th Cir. 2016).3
          Instead, the test is whether the service provider “contributes materially to the alleged
   illegality of the content.” Jones, 755 F.3d at 410 (quoting Roomates.com, 521 F.3d at 1167–68);
   accord Roca Labs, 140 F. Supp. 2d at 1322. This is a demanding standard. “A material
   contribution to the alleged illegality of the content does not mean merely taking action that is
   necessary to the display of allegedly illegal content. Rather, it means being responsible for what


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        This reflects the general rule that “traditional editorial functions” performed in connection
   with third-party content do not make the service provider responsible for that content. O’Kroley
   v. Fastcase, Inc., 831 F.3d 352, 355 (6th Cir. 2016); see also Batzel, 333 F.3d at 1031 (“the
   exclusion of ‘publisher’ liability necessarily precludes liability for exercising the usual
   prerogative of publishers to choose among proffered material and to edit the material published
   while retaining its basic form and message”).




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   makes the displayed content allegedly unlawful.” Jones, 755 F.3d at 410; see also Herrick, 306
   F. Supp. 3d at 589. Only where “it is very clear that the website directly participates in
   developing the alleged illegality” should immunity be lost. Roommates.com, 521 F.3d at 1174.
   By contrast, “in cases of enhancement by implication or development by inference . . . section
   230 must be interpreted to protect websites.” Id. at 1174-75; see, e.g., Nemet, 591 F.3d at 257
   (service provider immune from claims based on user-posted comments where allegations did not
   show that defendant “contributed to the allegedly fraudulent nature of the comments at issue”).
          Plaintiffs’ allegations do not come close to satisfying this requirement. Nothing in the
   FAC remotely suggests that YouTube took any actions that contributed to the allegedly
   fraudulent or misleading nature of the BitConnect videos. There certainly is no suggestion that
   YouTube “require[d] users to post illegal or actionable content as a condition of use.” Jones, 755
   F.3d at 416. Instead, Plaintiffs rely on allegations that defy established law. For example,
   allegedly “driving traffic” (FAC ¶ 349) or “funneling” viewers toward certain content (id. ¶ 350)
   is not a material contribution. In Dowbenko, the Eleventh Circuit squarely held that Google was
   not responsible for third-party content based on allegations that it “manipulated its search results
   to prominently feature the article at issue.” 582 Fed. Appx. at 805. The Middle District of Florida
   followed that holding in Roca Labs. There, the plaintiff claimed that a website operator had tried
   to drive traffic to allegedly defamatory comments posted on its site by putting links to the posts
   on Twitter and using search engine optimization techniques. The court rejected these arguments:
   “providing links to negative [customer]-review posts does not preclude Section 230 immunity.”
   Roca Labs., 140 F. Supp. 3d at 1321; accord Gonzalez v. Google, Inc., No. 16-cv-03282-DMR,
   2018 U.S. Dist. LEXIS 138367, at *35 (N.D. Cal. Aug. 15, 2018) (“Google’s use of an algorithm
   that aggregates user and video data to make content recommendations across YouTube . . . does
   not turn Google into an ‘information content provider’ with respect to the videos themselves.”).
          The same is true of Plaintiffs’ assertions that YouTube somehow learned “the meaning
   and intent behind videos published on YouTube” (FAC ¶ 350) or, conversely, that it “ignored or
   overlooked” evidence regarding the content of those same videos (id. ¶ 214-216). While these
   allegations are contradictory (and unsupported by any facts), whether Plaintiffs’ contention is
   that YouTube knew or did not know about the substance of the BitConnect videos makes no
   difference. “It is, by now, well established that notice of the unlawful nature of the information
   provided is not enough to make it the service provider’s own speech.” Univ. Commc’n Sys. v.




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   Lycos, Inc., 478 F.3d 413, 420 (1st Cir. 2007) (“Section 230 immunity applies even after notice
   of the potentially unlawful nature of the third-party content.”); see also Zeran, 129 F.3d at 331-
   33 (rejecting argument that online services lose Section 230 protection if “they have actual
   knowledge of the defamatory statements upon which liability is predicated”); Jones, 755 F.3d at
   416-17 (6th Cir. 2014) (website does not become the “creator or developer” of content by adding
   its own comments that purportedly “ratify and adopted” allegedly defamatory statements).
          Plaintiffs next charge YouTube with “[d]eveloping policies and procedures to effectuate
   its goals.” FAC ¶ 350; accord ¶ 210 (describing YouTube as “a unilateral gatekeeper in
   formulating policies and procedures that determine which videos get monetized and greatly
   influence which videos get ushered to the top of its search engine”). It is unclear what this
   cryptic allegation is supposed to mean, but YouTube does not become a creator or developer
   merely because it, like most service providers, has policies for operating its service and
   regulating the content that users post. See, e.g., Klayman, 753 F.3d at 1359-60 (rejecting effort to
   defeat immunity based on “a section of Facebook’s Statement of Rights and Responsibilities,
   which says: ‘We do our best to keep Facebook safe’”); Lycos, 478 F.3d at 419 (“message board
   postings do not cease to be ‘information provided by another information content provider’
   merely because the ‘construct and operation’ of the web site might have some influence on the
   content of the postings”). Just recently, for example, the D.C. Circuit rejected the argument that
   “by establishing and enforcing its Blogger Content Policy, Google is influencing—and thus
   creating—the content it publishes.” Bennett, 882 F.3d at 1167.4
          Finally, Plaintiffs’ suggestion that YouTube might have allowed the Promoter
   Defendants to earn money from ads displayed alongside their videos (FAC ¶¶ 198-200, 219),
   does not make YouTube into the “developer” of those videos. While there is no factual support
   for Plaintiffs conclusory allegation that YouTube had a “close business relationship” with the


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         The fact that Google, in the period after the claims in this case arose, imposed specific
   restrictions on cryptocurrency advertisements (FAC ¶ 222) certainly does not void YouTube’s
   immunity. Any such argument would defy a core purpose of Section 230: “to encourage service
   providers to self-regulate.” Zeran, 129 F.3d at 331 (“§ 230 forbids the imposition of publisher
   liability on a service provider for the exercise of its editorial and self-regulatory functions”); see
   also Roommates.com, 521 F.3d. at 1170-1171 (“[A]ny activity that can be boiled down to
   deciding whether to exclude material that third parties seek to post online is perforce immune
   under section 230.”).




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   Promoter Defendants (id. ¶¶ 193-95), it makes no difference here. As a matter of law, the
   “provision of neutral tools, including targeted advertising, does not equate to content
   development under section 230”—at least where, as here, those “tools do not encourage the
   posting of unlawful or objectionable material.” Gonzalez, 282 F. Supp. 3d at 1168. Likewise,
   there is no “for-profit exception to § 230’s broad grant of immunity.” M.A. ex rel. P.K. v. Village
   Voice Media Holdings, LLC, 809 F. Supp. 2d 1041, 1050 (E.D. Mo. 2011). And contrary to
   Plaintiffs’ new allegation that YouTube ignored “red flags in favor of continuing to collect
   revenue” through advertisements on the Promoter Defendants’ videos (FAC ¶ 219), generating
   revenue from allegedly unlawful content does not “turn a service provider into an information
   content provider.” Roca Labs, 140 F. Supp. 3d at 1323 (rejecting argument that website operator
   lost immunity “because companies can pay to have testimonials placed” on the site); see also
   Goddard v. Google, Inc., No. C08-2738 JF (PVT), 2008 U.S. Dist. LEXIS 101890, at *10 (N.D.
   Cal. Dec. 17, 2008) (the “fact that a website elicits online content for profit is immaterial”).5
          In short, Plaintiffs have not alleged that any actions YouTube took in connection with the
   BitConnect videos were “something more than a website operator performs as part of its
   traditional editorial function” (Nemet, 591 F.3d at 258) or that in any way contributed to the
   purportedly unlawful nature of those videos. Even taking Plaintiffs’ allegations at true, YouTube
   “has done nothing in this case that might make the misinformation at issue its own, rather than
   that of another information content provider.” Lycos, 478 F.3d at 421.
                  3.      Plaintiffs Seek To Hold YouTube Liable As A Publisher
          As for the last element, Plaintiffs seek to hold YouTube liable as a publisher of the
   BitConnect videos. “The broad construction accorded to section 230 as a whole has resulted in a
   capacious conception of what it means to treat a website operator as the publisher or speaker of
   information provided by a third party.” Doe v. Backpage.com, LLC, 817 F.3d 12, 19 (1st Cir.

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        The same is true whether the service provider allows the user who created the material at
   issue to earn money from those postings. In Blumenthal v. Drudge, 992 F. Supp. 44 (D.D.C.
   1998), for example, the court explained that Section 230 applies “even where the interactive
   service provider has an active, even aggressive role in making available content prepared by
   others”—including paying a user under a written contract to publish allegedly defamatory
   content. Id. at 52; see also, e.g., Gonzalez, 282 F. Supp. 3d at 1170 (rejecting argument that
   allegedly sharing ad revenue with users would mean that YouTube is a “content developer” of
   those users’ videos).




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   2016); accord Doe v. MySpace Inc., 528 F.3d 413, 418 (5th Cir. 2008) (“Courts have construed
   the immunity provisions in § 230 broadly in all cases arising from the publication of user-
   generated content.”). The test is simple: “courts must ask whether the duty that the plaintiff
   alleges the defendant violated derives from the defendant’s status or conduct as a ‘publisher or
   speaker.’ If it does, section 230(c)(1) precludes liability.” Barnes v. Yahoo! Inc, 570 F.3d 1096,
   1101-02 (9th Cir. 2009). No matter how Plaintiffs try to spin their claim, this is just such a case.
                  a.        Section 230 bars claims seeking to hold service providers liable for failing
                            to protect against third-party content
          Plaintiffs allege that YouTube “[b]reached its duty of reasonable care” to protect them
   against videos posted by the Promoter Defendants, a duty which YouTube allegedly assumed
   when it undertook to either allow the Promoter Defendants to publish or when it chose to remove
   other categories of potentially harmful videos. FAC ¶¶ 211, 217-218. The essence of this claim is
   that YouTube should have done more to stop the allegedly misleading videos from being
   published on its service or to shield others from the effects of those videos. Plaintiffs specifically
   fault YouTube for failing “to delist or demonetize the videos uploaded by BitConnect and its
   affiliate promoters.” Id. ¶ 217; accord id. ¶ 211 (alleging that YouTube did not do enough to
   enforce its “policies designed to prevent bad actors . . . from disseminating harmful” content).
   These assertions aim squarely at the “traditional editorial functions” that Section 230 protects.
   Zeran, 129 F.3d. at 327.
          “Indeed, the very essence of publishing is making the decision whether to print or retract
   a given piece of content.” Klayman, 753 F.3d at 1359; see also Barnes, 570 F.3d at 1102
   (“publication involves reviewing, editing, and deciding whether to publish or to withdraw from
   publication third-party content”); Herrick, 306 F. Supp. 3d at 590 (“publication” includes the
   “communication or transmission of information, and the failure to remove information
   communicated by another party”). Making such determinations “is precisely the kind of activity
   for which Congress intended to grant absolution with the passage of section 230.” Roommates,
   521 F.3d at 1171-1172; Bennett, 882 F.3d at 1168 (“the decision to print or retract is
   fundamentally a publishing decision for which the CDA provides explicit immunity”);
   McDonald, 219 F. Supp. 3d at 538 (Section 230 bars claims based on duty to “to edit and filter
   third-party content”).
          Unsurprisingly, then, courts have consistently “rejected claims that attempt to hold
   website operators liable for failing to provide sufficient protections to users from harmful content



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   created by others.” Backpage, 817 F.3d at 21; see, e.g., Klayman, 753 F.3d at 1359 (Facebook
   immune from claims based on its failure to remove inflammatory “Intifada” pages that plaintiff
   found offensive); MySpace, 528 F.3d at 419-20 (MySpace immune from claim seeking to hold it
   liable for “failure to implement basic safety measures to protect minors”); Green v. Am. Online,
   318 F.3d 465 (3d Cir. 2003) (AOL immune from claim that it failed to protect user against
   harmful computer virus disseminated by others on its network); Herrick, 306 F. Supp. 3d at 590
   (Grindr immune from claim that it “failed to incorporate adequate protections against
   impersonating or fake accounts”). Such claims seek to impose liability on service providers for
   their editorial judgments—and thus impermissibly “treat” them as the “publisher” of others’
   content. Plaintiffs’ effort to do so here falls squarely within Section 230’s protections.6
                  b.      Plaintiffs cannot escape Section 230 by asserting a failure to warn claim
          Plaintiffs cannot avoid that result by casting their claim as one for negligent failure to
   warn. Section 230 is concerned with substance, not labels. “[W]hat matters is not the name of the
   cause of action … but whether the cause of action inherently requires the court to treat the
   defendant as the ‘publisher or speaker’ of content provided by another.” Barnes, 570 F.3d at
   1101; accord MySpace, 528 F.3d at 420 (“No matter how artfully Plaintiffs seek to plead their
   claims, the Court views Plaintiffs’ claims as directed toward MySpace in its publishing, editorial,
   and/or screening capacities.”). Because the application of the immunity “does not depend on the
   form of the asserted cause of action,” courts “have invoked the prophylaxis of section 230(c)(1)
   in connection with a wide variety of causes of action”—specifically including negligence.
   Backpage, 817 F.3d at 19; see, e.g., Green, 318 F.3d at 470 (liability for the “alleged negligent
   failure to properly police [AOL’s] network for content transmitted by its users . . . would ‘treat’
   AOL ‘as the publisher or speaker” of that content”); Doe v. Am. Online, 783 So. 2d at 1017
   (Section 230 bars liability for “negligent failure to control the content of users’ publishing of
   allegedly illegal postings on the Internet”).


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         The result would be no different insofar as Plaintiffs aim their allegations at YouTube’s
   broader content policies, rather than its specific actions in regard to the BitConnect videos. See,
   e.g., Lycos, 478 F.3d at 422 (“Lycos’s decision not to reduce misinformation by changing its web
   site policies was as much an editorial decision with respect to that misinformation as a decision
   not to delete a particular posting. Section 230 immunity does not depend on the form that
   decision takes.”).




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          That Plaintiffs allege failure to warn, in addition to failure to remove, makes no
   difference. Two recent cases squarely hold that Section 230 applies to failure to warn claims
   similar to the one made here. In Herrick, 306 F. Supp. 3d at 591-92, the court dismissed failure
   to warn claims against Grindr, an online dating app. The plaintiff was a Grindr user whose
   former boyfriend used the app to impersonate him, leading him to be harassed and threatened.
   The plaintiff alleged that Grindr failed to warn him about this risk. Id. at 584-86. But Section
   230 barred these claims because they “require treating Grindr as the ‘publisher’ of the
   impersonating profiles.” As the court explained: “The warning proposed by Herrick is only
   necessary because Grindr (as publisher) does not police or remove objectionable content.
   Although it is indirect, liability under such a theory nevertheless depends on Grindr’s decision to
   publish the impersonating profiles without reviewing them first.” Id. at 591.
          Similarly, in McDonald, the court held that Amazon was immune from a claim seeking to
   hold it liable for failing to warn about the risks of buying rechargeable batteries from a third-
   party seller on its platform where batteries the plaintiff had purchased exploded and caused
   injury. 219 F. Supp. 3d at 538-39. This claim impermissibly sought to treat Amazon as the
   speaker or publisher of third-party content—no matter whether the plaintiff sought to impose a
   duty to “edit and filter content posted by third parties” or a duty “to speak alongside content
   posted by third parties.” Id. at 538. McDonald relied on the Fifth Circuit’s decision in MySpace,
   which applied Section 230 to reject “plaintiff’s contention that the website had an obligation to
   warn or somehow shield its users from potentially harmful third-party content.” Id. at 539 (citing
   MySpace, 528 F.3d at 420).
          This case is no different. Plaintiffs’ fundamental theory is that YouTube “was negligent
   in promulgating harmful content and in failing to address certain harmful content on its
   network.” Green, 318 F.3d at 471. Plaintiffs thus attempt to hold YouTube “liable for decisions
   relating to the monitoring, screening, and deletion of content from its network—actions
   quintessentially related to a publisher’s role.” Id. (quoting Zeran, 129 F.3d at 332-33). By casting
   their theory in the guise of a failure to warn claim, Plaintiffs do not escape that problem, they
   only reinforce it.7 No matter what label they give it, Plaintiffs’ cause of action is premised on the


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         The Ninth Circuit’s decision in Doe v. Internet Brands, Inc., 824 F.3d 846 (9th Cir. 2016),
   is not to the contrary. There, though the court held that the CDA did not provide immunity
                                                                                        (continued...)


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   idea that YouTube had a duty to take protective action in regard to third party content on its
   platform. As Herrick recognized, imposing liability on a service provider for failing to post
   warnings about content on its platform is “no different” from penalizing it for failing to remove
   or edit that content. 306 F. Supp. 3d at 591. Such claims are barred by Section 230, and “[n]o
   amount of artful pleading can avoid that result.” Lycos, 478 F.3d at 418.
   III.   THE FAC FAILS TO STATE A CLAIM FOR FAILURE TO WARN
          Even apart from the overarching federal protection provided by Section 230, Plaintiffs’
   claim against YouTube should be dismissed. Only “a complaint that states a plausible claim for
   relief survives a motion to dismiss.” Iqbal, 556 U.S. at 679; see also ADA v. Cigna Corp., 605
   F.3d 1283, 1289 (11th Cir. 2010) (“[W]hen plaintiffs have not nudged their claims across the line
   from conceivable to plausible, their complaint must be dismissed.”). Plaintiffs do not meet that
   requirement here. Their failure to warn claim fails: as a matter of law, YouTube did not have a
   duty to warn Plaintiffs of the risks of investing in BitConnect.
          A.      YouTube Did Not Have A “Special Relationship” With Plaintiffs
          A failure to warn claim falls under the umbrella of negligence, and a plaintiff therefore
   must adequately plead, among other elements, the existence of a “duty, or obligation, recognized
   by the law, requiring the [defendant] to conform to a certain standard of conduct, for the
   protection of others against unreasonable risks.” Clay Elec. Coop., Inc. v. Johnson, 873 So. 2d
   1182, 1185 (Fla. 2003) (alterations in original) (quoting W. Page Keeton et al., Prosser and
   Keeton on the Law of Torts (“Prosser and Keeton”) § 30, at 164-65 (5th ed. 1984)). Whether a
   duty is owed presents a threshold question of law to be determined by the court. See Estate of
   Johnson v. Badger Acquisition of Tampa LLC, 983 So. 2d 1175, 1180 (Fla. 2d DCA 2008); see
   also Jenkins v. W.L. Roberts, Inc., 851 So. 2d 781, 783 (Fla. 1st DCA 2003) (duty “is a threshold
   legal question; if no legal duty exists, then no action for negligence may lie.”).


            (...continued from previous page)
   against the plaintiff’s negligent failure to warn claim, the court relied upon the fact that the bad
   actors did not post any content to the defendant’s website. Id. at 851. In that scenario, allowing a
   failure to warn claim to proceed “would not require Internet Brands to remove any user content
   or otherwise affect how it publishes or monitors such content.” Id. Here, by contrast, Plaintiffs’
   claim against YouTube is specifically based on content posted on YouTube. In Herrick, the court
   distinguished Internet Brands on this basis, correctly holding that the Ninth Circuit’s decision
   does not apply to such a case. 306 F. Supp. 3d at 392.




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          Because a duty to warn would make a defendant liable for someone else’s misconduct,
   such a duty can be imposed only in limited circumstances. Accord Boynton v. Burglass, 590
   So.2d 446, 448 (Fla. 3d DCA 1991) (“Florida courts have long been loath[] to impose liability
   based on a defendant’s failure to control the conduct of a third party.”). “A traditional analysis of
   a defendant’s liability in negligence for the criminal acts of another links the existence of a legal
   duty to the defendant’s special relationship to the injured party or to the defendant’s ability to
   control some aspect of the criminal act.” Knight v. Merhige, 133 So. 3d 1140, 1144 (Fla. 4th
   DCA 2014) (emphasis added); see also Twiss v. Kury, 25 F.3d 1551, 1555 (11th Cir. 1994)
   (defendant had no special relationship with plaintiff investors, and thus owed no duty, citing
   Palmer v. Shearson Lehman Hutton, Inc., 622 So. 2d 1085 (Fla. 1st DCA 1993)). Such
   “relationships are protective by nature, requiring the defendant to guard his charge against harm
   from others.” Knight, 133 So. 3d at 1145 (citing Prosser and Keeton § 56, at 383).
          Here, Plaintiffs allege no relationship with YouTube that would impose upon YouTube a
   legal duty to warn. Plaintiffs are no differently situated that any of YouTube’s billions of users
   around the world. YouTube hosts videos posted by those users or allows them to view videos
   that others have posted. This relationship is not “protective by nature.” Although YouTube has
   rules about what can be posted, YouTube has not undertaken to protect such users from all the
   possible harmful consequences of the wide array of videos that may be found on the service,
   much less to warn users of risks that might be posed by specific videos.8 The relationship
   between YouTube and Plaintiffs does not come close to the kind of special relationship—such as
   that between landlords and tenants, employers and employees, jailers and prisoners, hospitals
   and patients, and schools and students—that gives rise to a duty to warn under Florida law. See
   Knight, 133 So. 3d at 1145-46. YouTube is aware of no case holding that a “special relationship”


      8
         Plaintiffs point to YouTube’s policies that impose guidelines about what kinds of content
   may be posted on the service. FAC ¶¶ 211-213. But such rules—which are ubiquitous among
   websites and other online services that host user-submitted content—do not somehow foist upon
   YouTube a legal duty to warn, especially where YouTube’s Terms of Service expressly disclaim
   all warranties regarding any product or service offered by third parties through YouTube. See
   <https://www.youtube.com/static?template=terms>. Any alternative rule not only is unsupported
   by the law, it would have pernicious consequences, creating disincentives for service providers
   to formulate content rules lest they be charged with failing to alert users to specific content that
   may be potentially dangerous or risky.




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   exists between an online service provider and its users that would have required YouTube to
   warn Plaintiffs about the risks associated with BitConnect.9
           To the contrary, in several recent cases, courts have specifically rejected duties to warn in
   similar contexts. For example, in Internet Brands, the court, on remand from the Ninth Circuit,
   dismissed a failure to warn claim against a website operator based on risks that the plaintiff faced
   from individuals who gathered her contact information from the website, then lured her into a
   face-to-face meeting and assaulted her. Doe No. 14 v. Internet Brands, Inc., No. CV 12-3626-
   JFW (PJWx), 2016 U.S. Dist. LEXIS 192144, at *4 (C.D. Cal. Nov. 14, 2016). The court held at
   the pleading stage that the website operator had no duty to warn. Id. at *14. As a matter of law,
   no “special relationship” existed between the website and either the perpetrators of the crime or
   the plaintiff, “who, along with at least 600,000 others, were members” of the website. Id. at *11.
           The relationship between [the plaintiff] and Internet Brands, a website operator,
           does not fall under any of the well-recognized “special relationships” under
           California law, and the Court has not found, nor have the parties cited, any case in
           which courts have found the existence of a “special relationship” or imposed a
           duty under similar or analogous circumstances.
   Id. at *12.10 The court added that imposing a duty to warn under such circumstances “would also
   likely cause website operators to inundate and overwhelm their users with warnings, ultimately
   diluting the effectiveness of such warnings,” and could have a “‘chilling effect’ on the internet



      9
         Indeed, courts have consistently rejected imposing a duty to warn on traditional publishers
   for the content supplied by third-party authors. See, e.g., Winter v. G.P. Putnam’s Sons, 938 F.2d
   1033 (9th Cir. 1991) (“no publisher has a duty as a guarantor”); Lewin v. McCreight , 655 F.
   Supp. 282, 283-4 (E.D. Mich. 1987) (given “the weighty societal interest in free access to ideas,
   and potentially unlimited liability, it would be unwise to impose a duty to warn of ‘defective
   ideas’ upon publishers of information supplied by third party authors”); Alm v. Van Nostrand
   Reinhold Co., 480 N.E.2d 1263 (Ill. App. Ct. 1985) (rejecting duty because the burden of
   “scrutinizing” procedures contained in their publications is too great, and because “the scope of
   liability would extend to an undeterminable number of potential readers”). The same policy
   concerns counsel against holding that YouTube had a duty to warn Plaintiffs here.
      10
          While Internet Brands involved California law, the elements for a negligent failure to warn
   claim in California are the same as those under Florida law. See Zelig v. County of Los Angeles,
   45 P.3d 1171, 1182 (Cal. 2002) (no duty to warn absent a “special relationship”). In any event, it
   is not clear why Florida law rather than California law should apply to the claim in this case.
   YouTube, of course, is based in California, and Plaintiffs do not allege that they lived in Florida
   or have any connection to Florida. See supra Section I. But, because it should make no
                                                                                          (continued...)


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   by opening floodgates of litigation.” Id. at *14.
           The court in Dyroff v. Ultimate Software Grp., Inc., No. 17-cv-05359-LB, 2017 U.S.
   Dist. LEXIS 194524, at *29-39 (N.D. Cal. Nov. 26, 2017), rejected a similar claim asserting that
   a website owed a duty to warn users about dangerous items offered for sale by other users.
   Following Internet Brands, the court held that “a website has no ‘special relationship’ with its
   users.” Id. at *36. Similarly, in Beckman v. Match.com, LLC, the court held that a website
   operator—specifically an online dating service—had no special relationship with its users or
   duty to warn them of the risks they may face from other users of the service. No. 2:13-CV-97
   JCM (NJK), 2017 U.S. Dist. LEXIS 35562, 2017 WL 1304288, at *4 (D. Nev. Mar. 10, 2017).
   This Court should do the same here. Like the plaintiffs in Internet Brands, Dyroff, and Beckman
   who asserted claims against website operators for failing to warn them from dangers posed by
   other users, Plaintiffs do not and cannot allege any special relationship between them and
   YouTube. Such claims fail as matter of law.11
           Finally, Plaintiffs’ allegations about the relationship between YouTube and the Promoter
   Defendants (FAC ¶¶ 193-209) cannot support a claim. YouTube did not have a “special
   relationship” with the Promoter Defendants, who were simply users of YouTube’s service. While
   Plaintiffs sprinkle the FAC with references to “partnership” and the “the YouTube Partner
   Program” in regards to the relationship between YouTube and the Promoter Defendants, it is
   clear from the Complaint that “partner” as used in this context means little more than a user who
   uploaded videos that received more than a certain number of views and thus was eligible to share
   advertising revenue generated by the videos. FAC ¶¶ 198-199. Such “partnership” does not
   fundamentally transform the relationship between YouTube and such users.12 Indeed, YouTube


            (...continued from previous page)
   difference to the outcome, YouTube assumes solely for purposes of this motion that Plaintiffs’
   failure to warn claim arises under Florida law.
      11
          Plaintiffs assert that a duty arises from YouTube’s use of algorithms to determine which
   videos get promoted and viewed. Id. ¶ 131. But Dyroff rejected a very similar theory, explaining
   that it would “render all social-network websites potentially liable whenever they connect their
   members by algorithm, merely because the member is a member. This makes no sense
   practically.” Dyroff, 2017 U.S. Dist. LEXIS 194524, at *36.
      12
         The new allegations in the FAC that the Promoter Defendants used YouTube’s platform to
   publicize the alleged scheme (¶¶ 208-209) do not alter this analysis.




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   no more has a “special relationship” with such users—at least not one that can give rise to a duty
   to warn—than it does with any other user who posts content on its service. Plaintiffs cannot save
   their failure to warn claim on this basis.
          B.      YouTube Had No Duty To Warn Where It Did Not Have Superior
                  Knowledge of The Relevant Risks
          Plaintiffs’ assertion of a duty to warn fails for an additional reason. A defendant has no
   duty to warn others about risks as to which it has no “superior knowledge,” such as “open and
   obvious” risks. See, e.g., McAllister v. Robbins, 542 So. 2d 470, 470 (Fla. 1st DCA 1989) (“no
   question of duty to warn, since plaintiff’s knowledge was equal with that of the defendants”);
   Hunt v. Slippery Dip of Jacksonville, Inc., 453 So. 2d 139, 139-40 (Fla. 1st DCA 1984) (rejecting
   duty to warn because “the knowledge of the appellant/invitee of the risk involved in using the
   water slide was at least equal to that of the appellee”); accord Brookie v. Winn-Dixie Stores, Inc.,
   213 So. 3d 1129, 1132 (Fla. 1st DCA 2017) (no duty to warn plaintiff “of the open and obvious
   condition”). That is precisely the situation here.
          Plaintiffs do not (and could not) allege that YouTube had any greater knowledge than
   they did of the risks inherent in investing in BitConnect’s cryptocurrency scheme. In fact, the
   FAC demonstrates otherwise. The only source that Plaintiffs offer for YouTube’s purported
   knowledge about BitConnect are the “numerous videos posted on YouTube,” which Plaintiffs
   characterize as describing “the fraudulent activity in which the BitConnect Defendants were
   engaging,” and “publicly available analytics” about keyword searches. FAC ¶¶ 214-216
   (emphasis added). But, of course, all these videos and data were publicly available—as Plaintiffs
   recognize—and thus just as accessible to Plaintiffs as they were to YouTube or anyone else.
   YouTube is not alleged to have had some special access to these videos or to have been involved
   in their creation. If those videos gave YouTube some reason to know that BitConnect was a risky
   investment, Plaintiffs would have been in exactly the same position. There was no secret
   knowledge here. Instead, there was the inherent risk of investing in a novel cryptocurrency
   scheme, and two parties (Plaintiffs and YouTube) in an equal position to appreciate those risks
   based on the videos freely available to the public at large. As a matter of law, that scenario does
   not give rise to a duty to warn.
                                                CONCLUSION
      For these reasons, Plaintiffs’ claim against YouTube should be dismissed and, because any
   further amendment would be futile, YouTube should be dismissed from this case with prejudice.



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   Dated: October 25, 2018             Respectfully submitted,



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                                  CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on October 25, 2018, I electronically filed the foregoing with

   the Clerk of Court by using the Court’s CM/ECF system thereby serving all registered users in

   this case.


                                               /s/Nathan M. Berman
                                               Nathan M. Berman




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